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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   CIRBA INC. (d/b/a DENSIFY), as the
   successor-in-interest to CIRBA IP INC.,    C.A. No. 19- 742-GBW

                         Plaintiff,           JURY TRIAL DEMANDED

          V.


   VMWARE, INC. ,

                         Defendant.



                                FINAL JURY INSTRUCTIONS
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  1.0    GENERAL INSTRUCTIONS

         1.1     INTRODUCTION

         Members of the jury, now it is time for me to instruct you about the law that you must

  follow in deciding this case. Each of you has been provided a copy of these instructions. You

  may read along as I deliver them if you prefer.

         I will start by explaining your duties and the general rules that apply in every civil case.

  Then I will explain some rules that you must use in evaluating particular testimony and evidence.

         Then I will explain the positions of the parties and the law you will apply in this case.

  And last, I will explain the rules that you must follow during your deliberations in the jury room,

  and the possible verdicts that you may return.

         Please listen very carefully to everything I say.

         You will have a written copy of these instructions with you in the jury room for your

  reference during your deliberations. You will also have a verdict form, which will list the

  questions that you must answer to decide this case.




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          1.2    JURORS' DUTIES

         You have two main duties as jurors. The first is to decide what the facts are from the

  evidence that you saw and heard in court. Deciding what the facts are is your job, not mine, and

  nothing that I have said or done during this trial was meant to influence your decision about the

  facts in any way. You are the sole judges of the facts.

         Your second duty is to take the law that I give you, apply it to the facts, and decide under

  the appropriate burden of proof which party should prevail on any given issue. It is my job to

  instruct you about the law, and you are bound by the oath you took at the beginning of the trial to

  follow the instructions that I give you, even if you personally disagree with them. This includes

  the instructions that I gave you before and during the trial, and these instructions. All of the

  instructions are important, and you should consider them together as a whole.

         Perform these duties fairly. Do not guess or speculate, and do not let any bias, sympathy,

  or prejudice you may feel toward one side or the other influence your decision in any way.




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         1.3     EVIDENCE DEFINED

         You must make your decision based only on the evidence that you saw and heard here in

  court. Do not let rumors, suspicions, or anything else that you may have seen or heard outside of

  court influence your decision in any way.

         The evidence in this case includes only what the witnesses said while they were testifying

  under oath (including deposition transcript testimony that has been played by video or read to

  you), the exhibits that I allowed into evidence, and the stipulations to which the parties agreed.

         Certain charts and graphics have been used to illustrate testimony from witnesses. Unless

  I have specifically admitted them into evidence, these charts and graphics are not themselves

  evidence, even if they refer to, identify, or summarize evidence, and you will not have these

  demonstratives in the jury room.

         Nothing else is evidence. The lawyers ' statements and arguments are not evidence. The

  arguments of the lawyers are offered solely as an aid to help you in your determination of the

  facts. Their questions and objections are not evidence. My legal rulings are not evidence. You

  should not be influenced by a lawyer' s objection or by my ruling on that objection. Any of my

  comments and questions are not evidence.

         During the trial I may have not let you hear the answers to some of the questions that the

  lawyers asked. I also may have ruled that you could not see some of the exhibits that the lawyers

  wanted you to see. And, sometimes I may have ordered you to disregard things that you saw or

  heard, or that I struck from the record. You must completely ignore all of these things. Do not

  speculate about what a witness might have said or what an exhibit might have shown. These

  things are not evidence, and you are bound by your oath not to let them influence your decision

  rn any way.

         You should not be concerned with whether there were any earlier proceedings in this case


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  or, if there were, what the outcome of any such proceedings might have been. And as I have told

  you previously, the Court has no opinion on the matters you are being asked to decide.

          Make your decision based only on the evidence, as I have defined it here, and nothing

  else.




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          1.4     DIRECT AND CIRCUMSTANTIAL EVIDENCE

          You may have heard the terms "direct evidence" and "circumstantial evidence."

          Direct evidence is simply evidence like the testimony of an eyewitness which, if you

  believe it, directly proves a fact. If a witness testified that he saw it raining outside, and you

  believe him, that would be direct evidence that it was raining.

          Circumstantial evidence is simply a chain of circumstances that indirectly proves a fact.

  If someone walked into the courtroom wearing a raincoat covered with drops of water and

  carrying a wet umbrella, that would be circumstantial evidence from which you could conclude

  that it was raining.

          It is your job to decide how much weight to give the direct and circumstantial evidence.

  The law makes no distinction between the weight that you should give to either one, nor does it

  say that one is any better evidence than the other. You should consider all the evidence, both

  direct and circumstantial, and give it whatever weight you believe it deserves.




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         1.5     CONSIDERATION OF EVIDENCE

         You should use your common sense in weighing the evidence. Consider it in light of your

  everyday experience with people and events, and give it whatever weight you believe it deserves.

  If your experience tells you that certain evidence reasonably leads to a conclusion, you are free

  to reach that conclusion.




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         1.6    STATEMENTS OF COUNSEL

         A further word about statements of counsel and arguments of counsel. The attorneys'

  statements and arguments are not evidence. Instead, their statements and arguments are intended

  to help you review the evidence presented.

         If you remember the evidence differently from the way it was described by the attorneys,

  you should rely on your own recollection.




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          1. 7    CREDIBILITY OF WITNESSES

          You are the sole judges of each witness ' s credibility. You may believe everything a

  witness says, or part of it, or none of it. You should consider each witness ' s means of

  knowledge; strength of memory; opportunity to observe; how reasonable or unreasonable the

  testimony is; whether it is consistent or inconsistent; whether it has been contradicted; the

   witness's biases, prejudices, or interests; the witnesses' manner or demeanor on the witness

   stand; and all circumstances that, according to the evidence, could affect the credibility of the

  testimony.

          In determining the weight to give to the testimony of a witness, you should ask yourself

   whether there was evidence tending to prove that the witness testified falsely about some

   important fact, or, whether there was evidence that at some other time the witness said or did

   something, or failed to say or do something, that was different from the testimony he gave at the

   trial. You have the right to distrust such a witness' s testimony in other particulars and you may

   reject all or some of the testimony of that witness or give it such credibility as you may think it

   deserves.

          You should remember that a simple mistake by a witness does not necessarily mean that

   the witness was not telling the truth. People may tend to forget some things or remember other

   things inaccurately. If a witness has made a misstatement, you must consider whether it was

   simply an innocent lapse of memory or an intentional falsehood, and that may depend upon

   whether it concerns an important fact or an unimportant detail.




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         1.8    NUMBER OF WITNESSES

         One more point about the witnesses. Sometimes jurors wonder if the number of witnesses

  who testified makes any difference.

         Do not make any decisions based only on the number of witnesses who testified. What is

  more important is how believable the witnesses were, and how much weight you think their

  testimony deserves. Concentrate on that, not the numbers.




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         1.9     EXPERT WITNESSES

         Expert testimony is testimony from a person who has a special skill or knowledge in

  some science, profession or business. This skill or knowledge is not common to the average

  person but has been acquired by the expert through special study or experience.

         In weighing expert testimony, you may consider the expert' s qualifications, the reasons

  for the expert' s opinions, and the reliability of the information supporting the expert' s opinions,

  as well as the factors I have previously mentioned for weighing testimony of any other witness.

  Expert testimony should receive whatever weight and credit you think appropriate, given all the

  other evidence in the case. You are free to accept or reject the testimony of experts, just as with

  any other witness.




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         1.10    DEPOSITION TESTIMONY

         Deposition testimony is out of court testimony given under oath and is entitled to the

  same consideration you would give it had the witnesses personally appeared in court.

         During the trial, certain testimony was presented to you by the reading of a deposition

  transcript or the playing of video excerpts from a deposition. If played by video, the deposition

  testimony may have been edited or cut to exclude irrelevant testimony. You should not attribute

  any significance to the fact that the deposition videos may appear to have been edited.




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         1.11    USE OF INTERROGATORIES

         You may have heard answers that the parties gave in response to written questions

  submitted by the other side. The written questions are called "interrogatories." The written

  answers were given in writing and under oath, before the trial.

         You must consider the parties' answers to interrogatories in the same manner as if the

  answers were made from the witness stand.




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           1.12   EXHIBITS

          During the course of the trial, you have seen many exhibits. Many of these exhibits were

   admitted as evidence. You will have these admitted exhibits in the jury room to consider as

   evidence for your deliberations.

          The remainder of the exhibits (including charts, PowerPoint presentations and

   animations) were offered to help illustrate the testimony of the various witnesses. These

   illustrative exhibits, called "demonstrative exhibits," will not be in the jury room and have not

   been admitted, are not evidence, and should not be considered as evidence. Rather, it is the

   underlying testimony of the witness that you heard when you saw the demonstrative exhibits that

   is the evidence in this case.

          In some instances, certain charts and summaries may have been received into evidence to

   illustrate information brought out in the trial. You may use these charts and summaries as

   evidence, even though the underlying documents and records are not here. You should give them

   only such weight as you think they deserve.




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          1.13    BURDENS OF PROOF

          In any legal action, facts must be proven by a required standard of evidence, known as

   the "burden of proof." In a case such as this, there are two different burdens of proof that are

   used. The first is called "preponderance of the evidence." The second is called "clear and

   convincing evidence."

          Cirba is accusing VMware of patent infringement. Cirba has the burden of proving its

   claims and the amount of its money damages, if any, by what is called a preponderance of

   evidence. That means that Cirba has to produce evidence which, when considered in light of all

   of the facts, leads you to believe that what Cirba claims is more likely true than not. To put it

   differently, if you were to put the evidence of Cirba and VMware concerning infringement on

   opposite sides of a scale, the evidence supporting Cirba' s claims would have to make the scales

  tip somewhat on its side in each instance. If the scale should remain equal or tip in favor of the

   VMware, you must find for VMware.

          If you find that VMware infringed one or more of the ' 687 patent claims that have been

   asserted in this case, then as a separate question, Cirba has also asserted that the infringement of

   the ' 687 patent was willful. Cirba has the burden of proving this additional contention by a

   preponderance of the evidence.

          In this case, in addition to denying Cirba' s claims, VMware asserts that Cirba' s ' 687

   patent is invalid. Patents, however, are presumed to be valid under the law. VMware therefore

   has the burden of proving that the '687 patent is invalid by clear and convincing evidence. Clear

   and convincing evidence means that it is highly probable that a fact is true. Proof by clear and

   convincing evidence is, thus, a higher burden than proof by a preponderance of the evidence.

          Some of you may have heard the phrase "proof beyond a reasonable doubt." That burden

   of proof applies only in criminal cases and has nothing to do with a civil case like this one. You


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   should therefore not consider it in this case.




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          1.14    USE OF NOTES

          You may use notes taken during trial to assist your memory. However, as I instructed you

  at the beginning of the case, you should use caution in consulting your notes. There is generally a

  tendency I think to attach undue importance to matters which one has written down. Some

  testimony which is considered unimportant at the time presented, and thus not written down,

  takes on greater importance later in the trial in light of all the evidence presented. Therefore,

  your notes are only a tool to aid your own individual memory, and you should not compare notes

  with other jurors in determining the content of any testimony or in evaluating the importance of

   any evidence. Your notes are not evidence, and are by no means a complete outline of the

  proceedings or a list of the highlights of the trial.

          Above all, your memory should be your greatest asset when it comes time to deliberate

   and render a decision in this case.




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  2.0     THE PARTIES AND THEIR CONTENTIONS

          2.1     THE PARTIES

          I will now review for you the parties in this action, and the positions of the parties that

  you will have to consider in reaching your verdict.

          The plaintiff in this case is Cirba Inc. (d/b/a Densify) as the successor in interest to

   Cirba IP Inc., which I may refer to as "Cirba" or "Plaintiff." Cirba Inc. ("Inc.") is not a plaintiff

   by itself. You heard more about this from the parties, but in April 2022, Cirba Inc. and Cirba IP

   amalgamated into a single entity, but only Cirba IP 's claims are at issue in this action.

          The defendant in this case is VMware, Inc., which I will refer to as "VMware" or

  "Defendant."




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         2.2     THE PARTIES' CONTENTIONS

         There are two patents at issue in this case. Cirba's patents are United States Patent Nos.

  8,209,687 and 9,654,367. You heard the lawyers and witnesses in the case refer to Cirba' s

  patents as the '687 and '367 patents or the "Cirba patents." I will do the same. Copies of the

  Cirba patents have been given to you.

         Cirba contends that VMware directly infringed and induced infringement of the Cirba

  patents, that the infringement of the ' 687 patent was willful, and that Cirba is entitled to

  damages.

         VMware denies that it infringed or induced infringement of the Cirba patents, or that it

  did so willfully. VMware also contends that the ' 687 patent is invalid. VMware also denies that

  Cirba is entitled to recover any damages related to the patents.




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          2.3       SUMMARY OF THE PATENT ISSUES

          I will now summarize the patent issues that you must decide and for which I will provide

   instructions to guide your deliberations. The specific questions you must answer are listed on the

  verdict sheet you will be given. Here are the issues you must decide:

                •   Whether Cirba has proven by a preponderance of the evidence that VMware

                    infringed one or more of the asserted claims of the '687 patent or the '367 patent.

                •   If you decide that Cirba has proven that VMware infringed one or more of the

                    asserted claims of the '687 patent, whether Cirba has proven by a preponderance

                    of the evidence that VMware willfully infringed that claim.

                •   Whether VMware has proven by clear and convincing evidence that one or more

                    of the asserted claims of the '687 patent is invalid.

                •   If you decide that Cirba has proven that VMware infringed a claim not shown to

                    be invalid, what monetary damages Cirba has proven by a preponderance of the

                    evidence that it is entitled to.

          I will provide more detailed instructions on each of the issues you must decide elsewhere

   in these jury instructions.




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  3.0    THE PATENT CLAIMS

         3.1     PATENT LAWS

         At the beginning of the trial, I gave you some general information about patents and the

  patent system and a brief overview of the patent laws relevant to this case. I will now give you

  more detailed instruction about the patent laws that specifically relate to this case.




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          3.2     PATENT "CLAIMS" GENERALLY

          Before you can decide many of the issues in this case, you will need to understand the

   role of patent "claims."

          The patent claims are the numbered paragraphs at the end of each patent. The claims are

   important because it is the words of the claims that define what a patent covers. Only the claims

   of a patent can be infringed.

          The claims are intended to define, in words, the bounds of an invention. The figures and

   text in the rest of the patent provide a description and/or examples of the invention and provide a

   context for the claims, but it is the claims that define the breadth of the patent' s coverage. Each

   of the asserted claims must be considered individually.

          In patent law, the requirements of a claim are often referred to as "claim elements" or

   "claim limitations." For example, a claim that covers the invention of a table may recite the

   tabletop, four legs, and the glue that secures the legs to the tabletop. The tabletop, legs, and glue

   are each separate limitations of the claim. When a thing (such as a product) meets each and every

   requirement of a claim, the claim is said to "cover" that thing, and that thing is said to "fall"

   within the scope of that claim.

          Each claim may cover more or less than another claim. Therefore, what a patent covers

   depends, in turn, on what each of its claims covers.

          You will first need to understand what each claim covers in order to decide whether there

   is infringement of the claim and to decide whether the claim is invalid. You must use the same

   claim meaning for both your decision on infringement and your decision on invalidity.




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          3.3     CONSTRUCTION OF THE CLAIMS

          It is the Court's duty under the law to define what the patent claims mean. As I

  instructed you at the beginning of the case, I have made my determinations, and I will now

  instruct you on the meaning, or "construction", of the claim terms. You must apply the meaning

  that I give in each patent claim to decide if the claim is infringed or invalid. You must accept my

  definitions of these words in the claims as being correct. You must ignore any different

  definitions used by the witnesses or the attorneys.

          You are advised that the following definitions for the following terms must be applied:

                      Claim Term                                          Construction

   "Evaluating each virtual guest against each            "Evaluating each virtual machine against
   virtual host and other virtual guests using one        each virtual host and other virtual
   or more rule sets pertaining to said technical,        machines, in each case using one or more
   business and workload constraints"                     rule sets pertaining to each of technical,
                                                          business and workload constraints"
   [claims 3 and 7 of the ' 687 Patent]



    "Each virtual guest"                                  Plain and ordinary meaning to a person of
                                                          ordinary skill in the art
   [claims 3 and 7 of the ' 687 Patent]

   "Each virtual host"                                    Plain and ordinary meaning to a person of
                                                          ordinary skill in the art
   [claims 3 and 7 of the ' 687 Patent]

   "Identifying the existence of virtual machines         "Identifying the existence of virtual machines
   with suboptimal placements"                            with less than optimal placements as
                                                          determined by the evaluation step"
   [claim 7 of the '687 Patent]
   "virtualized environment"                              Plain and ordinary meaning to a person of
                                                          ordinary skill in the art
    [claim 7 of the ' 687 Patent]




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    "Business constraint"                               "A restriction or limitation based on a
                                                        business parameter, such as physical location,
    [claims 3 and 7 of the ' 687 Patent]                organization department, data segregation
                                                        requirements, owner, service level
                                                        agreements, maintenance windows, hardware
                                                        lease agreements, or software licensing
                                                        agreements"
    "Determine whether the utilization or               "Determine whether an entity's utilization or
    performance of an entity is in an                   performance is within an acceptable range,
    acceptable range relative to its capacity or        relative to that entity's capacity or
    performance limits"                                 performance limits"

    [claims 1 and 13 of the '367 Patent]

          For any words in the claim for which I have not provided you with a definition, you

   should apply the plain and ordinary meaning to a person of ordinary skill in the art.




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            3.4    INDEPENDENT AND DEPENDENT CLAIMS

            This case involves two types of patent claims: independent claims and dependent claims.

            An independent claim does not refer to any other claim of the patent and sets forth all of

  the requirements that must be met in order to be covered by that claim. Thus, it is not necessary

  to look at any other claim to determine what an independent claim covers.

            In this case, claims 3 and 7 of the ' 687 patent and claims 1 and 13 of the ' 367 patent are

  independent claims. An independent claim must be read separately from the other claims to

  determine the scope of the claim.

            The remaining asserted claims are dependent claims. A dependent claim does not itself

  recite all of the requirements of the claim but refers to another claim or claims for some of its

  requirements. In this way, the claim "depends" on another claim or claims. A dependent claim

  incorporates all of the requirements of the claims to which it refers. The dependent claim then

  adds its own additional requirements. To determine what a dependent claim covers, it is

  necessary to look at both the dependent claim and any other independent claims to which it

  refers.




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          3.5    OPEN ENDED OR "COMPRISING" CLAIMS

          The beginning portion, or preamble, of several of the asserted claims has the word

  "comprising." The word "comprising" means "including the following but not excluding others."

  A claim that uses the word "comprising" or "including" is not limited to products having only

  the elements that are recited in the claim, but also covers products that have additional elements.

          If you find, for example, that the accused products include all of the elements of a

  particular claim, the fact that the accused products might include additional elements would not

   avoid infringement of the claim.




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   4.0    PATENTINFRINGEMENT

          4.1     INFRINGEMENT GENERALLY

          I will now instruct you on the rules you must follow when deciding whether Cirba has

  proven by a preponderance of the evidence that VMware has infringed the asserted claims.

          Patent law gives the owner of a patent the right to keep others from making, using,

   selling, or offering to sell a patented product or perform a patented method within the United

   States during the term of the patent. Any person or business entity that has made, used, sold, or

   offered to sell a patented product or performed the patented method in the United States during

   the term of the patent without the patent owner' s permission, infringes the patent, so long as the

  patent is not found to be invalid.

          To prove infringement, Cirba must prove by a preponderance of the evidence that each

   accused product or method, standing alone, contains each and every one of the elements of the

  patent claim that is asserted against that product or method. If a particular product or method

   does not contain each and every element of the claim, you must find that the product or method

   does not infringe.

          If, as here, a patent owner asserts multiple patent claims against the same product or

  method, then you must compare each claim separately against the product or method to

   determine whether the product or method infringes that individual patent claim.

          You must determine whether Cirba has proven that VMware infringed or induced

   infringement of any of the asserted claims in the Cirba patents.]




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           4.2       DIRECT INFRINGEMENT

              Cirba alleges that VMware literally infringes or did literally infringe the '687 and ' 367

   patents.

           In order to prove direct infringement, Cirba must prove that it is more likely than not that

   VMware made, used, offered for sale, or sold its products in a manner that meets all of the

   elements of any one claim literally. Infringement requires comparing products to the claims, not

   the specification.

           Literal Infringement occurs when a party ' s product practices every element of another

   party' s patent claim.

           Deciding whether a claim has been directly infringed is a two-step process. The first step

   is to decide the meaning of the patent claim. I have already made this decision and I have already

   instructed you as to the meaning of some terms of the Cirba patent claims. The second step is to

   decide whether the party accused of infringement has made, used, sold, offered for sale or

   imported within the United States an accused product or method covered by an asserted claim of

   the Cirba patents.

           To decide whether VMware' s computing products and/or their use directly infringe an

   asserted claim, you must compare that product and/or use with the patent claim and determine

   whether every element (or as they also are called, limitation) of the claim is included. If so, then

   VMware's product and/or its use directly infringes or did infringe that claim. If not, then the

   accused product and/or its use does not directly infringe that claim.

              You must determine, separately for each asserted claim, whether or not there is any

   infringement. There is one exception to this rule. If you find that an independent claim on which

   other claims depend is not infringed, there cannot be infringement of any dependent claim that

   refers to that independent claim. On the other hand, if you find that an independent claim has


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  been infringed, you must still decide, separately, whether the use meets the additional

  requirements of any claims that depend on the independent claim, and, thus, whether those

  claims have also been infringed. A dependent claim includes all the requirements of any of the

  claims to which it refers plus additional requirements of its own.

         You may find direct infringement based on as little as one instance of the claimed use

  being performed. Proof of direct infringement may be based on circumstantial evidence.

         To show direct infringement of a method claim, Cirba must show that VMware

  performed each and every step in the claimed method in the United States.

         For direct infringement, Cirba is not required to prove that VMware intended to infringe

  or knew of the patent. Whether or not VMware knew its accused products infringed or even

  knew of the patent does not matter in determining direct infringement. Instead, all that matters is

  whether VMware's use of the product is covered by any one of the claims.




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              4.3    INDUCED INFRINGEMENT

              Cirba alleges that VMware has induced others to directly infringe the ' 687 and ' 367

   patents.

          Inducement to infringe a claim cannot occur unintentionally. This is different from direct

   infringement, which, as I have told you, can occur unintentionally.

          Cirba alleges that VMware is liable for infringement by actively inducing others,

   including customers, to directly infringe the ' 687 and ' 367 patents. More particularly, Cirba

   asserts that VMware induced patent infringement after it became aware of the Cirba patents by

   encouraging its customers to use its infringing product. It is not sufficient that VMware was

   aware of the act or acts by the third party that allegedly constitute the direct infringement.

          To be liable for inducement to infringe, VMware must have known of the patent and

   encouraged or instructed another person how to use a product in a manner that you, the jury, find

   infringes or did infringe the asserted claims and must have had knowledge, or have acted with

   willful blindness, that the induced acts constituted patent infringement. To find willful blindness

   (1) VMware must have subjectively believed that there was a high probability that a patent

   existed covering the accused products, and (2) VMware must have taken deliberate actions to

   avoid learning of that infringement. The mere fact, if true, that VMware knew or should have

   known that there was a substantial risk that its customers' acts would infringe the Cirba patents

   would not be sufficient for active inducement of infringement.

          As with direct infringement, you must determine whether there has been inducement on a

   claim-by-claim basis.

          VMware is liable for inducement of infringement of a claim only if the other party proves

   by a preponderance of the evidence each of the following :

              1. That allegedly infringing acts were carried out by a third party that literally infringed


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  one or more of the claims of the Cirba patents, meeting all the criteria discussed in my

  instructions on the topic stated above;

          2. That VMware took some affirmative action, or that VMware continued to take an

  action specifically intending to cause the third parties to directly infringe the Cirba patents;

          3. That VMware knew of the Cirba patents-and that (i) VMware knew that the

  infringing acts, if taken, would constitute direct infringement of the Cirba patents; or

  (ii) VMware believed that there was a high probability that the actions taken by others infringed

  the Cirba patents-and took deliberate steps to avoid learning of that infringement;

          4. That VMware's alleged inducement, as opposed to other factors, actually caused the

  third parties to directly infringe.

          In order to establish inducement of infringement, it is not sufficient that the third party

  directly infringed the claim. Nor is it sufficient that VMware was aware of the act or acts by the

  third party that allegedly constitute the direct infringement. Rather, you must find that VMware

  specifically intended that the third party infringe the other party's patents or that VMware

  believed there was a high probability the third party would infringe Cirba' s patents but remained

  willfully blind to the infringing nature of the third party 's acts, in order to find inducement of

  infringement.

          If you find that no claim of the Cirba patents has been directly infringed, you cannot find

  VMware liable for inducement.




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         4.4        DIRECT INFRINGEMENT BY A TIDRD PARTY

         The first requirement for induced infringement, which I just discussed, is that Cirba must

  prove by a preponderance of the evidence that the allegedly infringing acts were carried out by a

  third party that directly infringed one or more of the claims of the Cirba patents.

         To directly infringe a method claim, a third party must perform each and every step of the

  claimed method in the United States. It is not enough that the accused product is capable of

  infringing use.

         If you do not find that there is direct infringement by a single actor, or if you do not find

  that VMware actively induced these acts, you must find that VMware did not induce

  infringement of the patent.




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         4.5     AFFIRMATIVE ACTIONS INTENDED TO CAUSE INFRINGEMENT

         The second requirement for induced infringement, which I just discussed, is that Cirba

  must prove by a preponderance of the evidence that VMware took actions with the specific intent

  to cause third parties to engage in infringing acts. This can be shown through direct or

  circumstantial evidence.

         In order to establish inducement of infringement, it is not sufficient that the third parties

  infringe the Cirba patents. Nor is it sufficient that VMware was aware of acts by others that

  would directly infringe. Rather, in order to find inducement, you must find that VMware

  intended others to use its products in at least some ways that would infringe the asserted claims

  of the Cirba patents, took affirmative acts to encourage direct infringement, and that those

  actions actually caused the direct infringement of the asserted claims of the Cirba patents.

         Cirba must prove by a preponderance of the evidence that VMware took affirmative acts

  intending to induce infringement.




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          4.6     KNOWLEDGE THAT THE ACTS, IF TAKEN, WOULD CONSTITUTE
                  INFRINGEMENT

          The third requirement for induced infringement, which I just discussed, is that Cirba must

  prove by a preponderance of the evidence that VMware knew of the Cirba patents. Cirba must

  also prove by a preponderance of the evidence that VMware knew that the acts it induced third

  parties to take would, if taken, constitute infringement of the Cirba patents, or that VMware

   believed there was a high probability that the actions taken by third parties would infringe the

   Cirba patents and took deliberate steps to avoid learning of that infringement.

          Inducing infringement cannot occur unintentionally. It is not enough for VMware to lead

   another to engage in conduct that happens to amount to infringement. Rather, to induce

   infringement, VMware must persuade another to engage in conduct that it knows--or believes

   with high probability, but deliberately avoided confirming-is infringement.




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         4.7     INDUCEMENT MUST CAUSE DIRECT INFRINGEMENT

         Finally, Cirba must prove that VMware 's alleged inducement, as opposed to other

  factors, actually caused third parties to directly infringe the Cirba patents. This means that

  VMware cannot be liable for induced infringement where Cirba does not show that VMware

  successfully communicated with and induced a third-party direct infringer and that the

  communication was the cause of the direct infringement by the third-party infringer.

         Like all other disputed issues in this case, this final element of induced infringement can

  be proven by circumstantial evidence. Cirba is not required to present direct proof of any direct

  infringer third party stating, for example, that VMware caused her to infringe. Cirba must prove

  that VMware's actions led third parties to directly infringe a claim of the Cirba patents, but Cirba

  may do so with circumstantial-as opposed to direct--evidence. Such circumstantial evidence

  must be sufficient to prove that VMware's actions led third parties to directly infringe a claim of

  the Cirba patents by performing each and every step of the claimed method in the United States.

  Circumstantial evidence of induced infringement is sufficient for a finding of such indirect

  infringement without requiring proof that any individual third-party direct infringer was actually

  persuaded to infringe.




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         4.8        WILLFUL INFRINGEMENT

         In this case, Cirba argues that VMware willfully infringed Cirba' s ' 687 patent.

         If you have decided that VMware has infringed a valid claim of the ' 687 patent, you must

  go on and address the additional issue of whether or not this infringement was willful.

  Willfulness requires you to determine whether Cirba proved by a preponderance of the evidence

  that VMware knew of the ' 687 patent before the lawsuit was filed and intentionally infringed

  them. However, you may not find that VMware ' s infringement was willful merely because

  VMware knew about the patent, without more.

         In determining whether Cirba has proven that VMware ' s infringement was willful, you

  must consider all of the facts surrounding the alleged infringement including:

             1. Whether VMware acted consistently with the standards of behavior for its industry;

             2. Whether VMware copied a product that it knew was covered by an asserted claim;

             3. Whether VMware reasonably believed it did not infringe or that the ' 687 patent was

  invalid;

             4. Whether VMware made a good-faith effort to avoid infringing the ' 687 patent, for

  example, whether VMware attempted to design around the ' 687 patent (evidence that VMware

  attempted to avoid infringement by designing around the patent claims, even if that attempt was

  unsuccessful, is evidence that infringement was not willful); and

             5. Whether VMware tried to cover up its infringement.

  If you do decide that there was willful infringement, that decision should not affect any damages
  award you give in this case.




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  5.0    INVALIDITY

         5.1     INVALIDITY GENERALLY

         Patent invalidity is a defense to patent infringement. The granting of a patent by the

  United States Patent and Trademark Office carries with it the presumption that the patent is

  valid. The law presumes that the Patent and Trademark Office acted correctly in issuing the

  patent. Each of the asserted claims is presumed valid independently of the validity of each other

  claim. Nevertheless, when the validity of a patent has been put at issue as part of patent

  litigation, it is the responsibility of the jury to review what the Patent Office has done consistent

  with the Court's instructions on the law. However, the fact that a patent application is rejected or

  amended before the patent is issued has no bearing on its ultimate validity.

         VMware has asserted as a defense to patent infringement in this case that Cirba's ' 687

  patent is invalid. Because each of the asserted claims is presumed valid independently of the

  validity of each other claim, this puts the burden on VMware of proving invalidity by clear and

  convincing evidence on a claim-by-claim basis that each of the asserted claims of the ' 687

  patents is invalid. VMware may rely on prior art that was before the patent examiner during

  prosecution. VMware's burden of proofremains the same regardless of whether the references

  on which VMware is relying to invalidate a patent have previously been before the patent

  exammer.

         Even though the Patent Office examiner allowed the claims of a patent, you have the

  ultimate responsibility for deciding whether the claims of the patent are proven to be invalid. For

  a patent to be valid, the subject matter claimed in the individual claims of the patent must be new

  and non-obvious. A patent cannot take away from the right of anyone who wants to use what was

  already known or used by others, or what would have been obvious to those of skill in the art at

  the time the invention was made.


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          VMware alleges that the ' 687 patent is invalid because the asserted claims are anticipated

  by VMware' s DRS 2006. VMware also alleges that the ' 687 patent is rendered obvious in light

  of DRS 2006 alone and in combination with other references.

          I will now instruct you in more detail why VMware alleges that the asserted claims of the

   ' 687 patent are invalid.




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          5.2     PRIOR ART

          Prior art is the legal term used to describe what others had done in the field before the

  invention was made. Prior art is the general body of knowledge in the public domain, such as

  articles, products, or other patents, before the invention was made. The prior art need not have

  been available to every member of the public, but it must have been available, without

  restriction, to that segment of the public most likely to avail itself of the prior art' s contents.

          For the asserted claims, prior art includes any of the following items received into

  evidence during trial:

          • Any product or method known or used by others in this country, or patented or

  described in a printed publication in this or a foreign country, before the invention was made; or

          • Any product or method patented or described in a printed publication in this or a foreign

  country or in public use or on sale in this country, more than one year prior to the earliest

  effective filing date of the ' 687 patent, which is August 31 , 2007.




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          5.3     ANTICIPATION

          A party may claim a patent is invalid under a theory of anticipation. In order for someone

   to be entitled to a patent, the invention must actually be new. In general, inventions are new

   when the identical invention as claimed has not been used or disclosed before. If the claim is not

  new, we say that it was "anticipated" by prior art. A claim that is "anticipated" by the prior art is

  not entitled to patent protection.

          Anticipation must be proved on a claim-by-claim basis. To anticipate a claim, each and

   every element in the claim must be present in a single item of prior art, and arranged or

   combined in the same way as recited in the claim. You may not combine two or more items of

  prior art to find anticipation.

          To anticipate the invention, the disclosure in the prior art reference does not have to use

   the same words as the claim, but all of the requirements of the claim must be there, either stated

   expressly or inherently, so that someone of ordinary skill in the art to which the claimed

   invention pertains, looking at that one reference, could make and use the claimed invention.

   Thus, for purposes of anticipation, you should consider that which is expressly stated or present

   in the item of prior art, and also that which is inherently present.

          In this case, VMware alleges that the asserted claims of the ' 687 patent are anticipated by

   DRS 2006. VMware must convince you that each claim was anticipated by clear and convincing

   evidence.

          In assessing VMware's anticipation defense, you must decide whether VMware has

  proven by clear and convincing evidence that the prior art expressly or inherently discloses to a

  person of ordinary skill in the art all the physical steps of the claimed apparatus or method. Thus,

   you must compare the steps of the patent with the steps of the prior art method and assess

   whether there is a difference between them.


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         5.4     OBVIOUSNESS GENERALLY

         Another basis for claiming that a patent is invalid is obviousness. Even though an

  invention may not have been identically disclosed or described before it was made by an

  inventor, in order to be patentable, an invention must not have been obvious to a person of

  ordinary skill in the art at the time the invention was made. Obviousness may be shown by

  considering one or more than one item of prior art.

         VMware contends that the asserted claims of Cirba' s '687 patent are invalid based on

  obviousness. VMware bears the burden of proving obviousness by clear and convincing

  evidence. VMware must show, by clear and convincing evidence, that the claimed invention

  would have been obvious to a person having ordinary skill in the art at the time the invention was

  made. In determining whether the claimed invention was obvious, you must consider each claim

  separately. You should not use hindsight, such as by using Cirba' s ' 687 patent as a roadmap to

  select from the prior art and retrace the path of the inventors. In other words, you should only

  consider what was known prior to the invention date, without the benefit of the later ' 687 patent

  and what that patent teaches.

         In order to be patentable, an invention must not have been obvious to a person of

  ordinary skill in the art at the time the invention was made. The issue is not whether the claimed

  invention would be obvious today to you, as a layperson, to me as a judge, or to a genius in the

  art, but whether it would have been obvious to one of ordinary skill in the art at the time it was

  made. The existence of each and every element of the claimed invention in the prior art does not

  necessarily prove obviousness. Most, if not all, inventions rely on building blocks of prior art. To

  show obviousness, the law does not require that the prior art prove, to a statistical certainty, that

  the claimed result would work. In the context of obviousness, only a reasonable expectation of

  success is required, not conclusive proof or absolute predictability.


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         You must put yourself in the place of a person of ordinary skill in the art at the time of

  invention. In addition, you may consider whether there was a reason to combine or modify the

  prior art references in the fashion claimed by the patent at issue. To find that the prior art

  rendered a claimed invention obvious, you must find that a person having ordinary skill in the art

  would have had a reasonable expectation of successfully accomplishing the claimed method.

         In determining obviousness or non-obviousness of the subject matter of each of the

  asserted claims, you should take the following steps, which I will explain further in just a

  moment:

          1. Determine the scope and content of the prior art;

         2. Identify the differences, if any, between each asserted claim and the prior art;

         3. Determine the level of ordinary skill in the pertinent art at the time the invention of the

  patent was made; and

         4. Consider objective factors of non-obviousness - that is, additional considerations, if

  any, that indicate that the invention was obvious or not obvious.

         Against this background, you will then decide whether the subject matter of each asserted

  claim would have been obvious or nonobvious to a person of ordinary skill in the pertinent art.




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         5.5     SCOPE AND CONTENT OF THE PRIOR ART

         In determining obviousness, you must first determine the scope and content of the prior

  art. This means that you must determine what prior art is reasonably pertinent to the particular

  problem that the inventors faced. Prior art is reasonably pertinent if it is in the same field as the

  claimed invention or is from another field that a person of ordinary skill would look to in trying

  to solve the problem the claimed invention was trying to solve. The prior art may include any of

  the items discussed above.




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          5.6     DIFFERENCES BETWEEN THE CLAIMED INVENTION AND PRIOR
                  ART
          Second, you should analyze whether there are any relevant differences between the prior

   art taken as a whole and the asserted claims of the ' 687 patent from the view of a person of

   ordinary skill in the art as of August 31 , 2007. Your analysis must determine the impact, if any,

   of such differences on the obviousness or nonobviousness of the invention as a whole, and not

  merely some portion of it.

          In analyzing the differences between the claimed invention and the prior art, you do not

  need to look for a precise teaching in the prior art directed to the subject matter of the claimed

  invention. You may take into account the inferences and creative steps that a person of ordinary

   skill in the art would have employed in reviewing the prior art at the time of the invention. For

  example, if the claimed invention combined elements known in the prior art and the combination

  yielded results that were predictable to a person of ordinary skill in the art at the time of the

  invention, then this evidence would make it more likely that the claim was obvious.

          On the other hand, if the combination of known elements yielded unexpected or

  unpredictable results, or if the prior art teaches away from combining the known elements, then

  this evidence would make it more likely that the claim that successfully combined those elements

  was not obvious.

          Importantly, a claim is not proved obvious merely by demonstrating that each of the

  elements was independently known in the prior art. Most, if not all, inventions rely on building

  blocks long since uncovered, and claimed discoveries almost of necessity will likely be

   combinations of what is already known. Therefore, you should consider whether a reason existed

   at the time of the invention that would have prompted a person of ordinary skill in the art in the

  relevant field to combine the known elements in the way the claimed invention does. The reason



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  could come from the prior art, the background knowledge of one of ordinary skill in the art, the

  nature of the problem to be solved, market demand, or common sense. Accordingly, you may

  evaluate whether there was some teaching, suggestion, or motivation to arrive at the claimed

  invention before the time of the claimed invention, although proof of this is not a requirement to

  prove obviousness.

         If you find that a reason existed at the time of the invention to combine the elements of

  the prior art to arrive at the claimed invention, this evidence would make it more likely that the

  claimed invention was obvious.

         Again, you must undertake this analysis separately for each claim that VMware contends

  is obvious.




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          5. 7    LEVEL OF ORDINARY SKILL

          Third, you must consider the perspective of a person of ordinary skill in the art, as

   explained previously. This person is presumed to know all the prior art that you have determined

  to be reasonably relevant. When faced with a problem, this ordinary skilled person is able to

   apply his or her experience and ability to the problem and also look to any available prior art to

  help solve the problem.

          Factors to consider in determining the level of ordinary skill in the art include: (1) the

  educational level and experience of people working in the field; (2) the types of problems faced

  by workers in the art at the time of the invention and the solutions found to those problems;

   (3) the prior art patents, products or devices, and publications; and (4) the sophistication of the

  technology in the field at the time of the invention, including how rapid innovations were made

  in the art at the time of the invention.

          Cirba contends that a person of ordinary skill in the art to which Cirba's '687 patent

  pertains would have been an individual with at least a bachelor's degree in computer

   engineering, computer science, or comparable degree and two years of experience developing

   software tools and/or computer systems for use in the area of information technology

  infrastructures and utilities in designing and evaluating virtualized environments. Cirba contends

   such a person would have been knowledgeable about virtualized software tools available at the

  time and their important features.

          VMware contends that a person of ordinary skill in the art to which Cirba's '687 patent

  pertains would have had at least a bachelor's degree in computer science, computer engineering,

   or electrical engineering, and 2-3 years of experience relating to physical and virtualized

   computing environments, including virtual machines, hypervisors, and host servers. VMware

   further contends that such a person would have been familiar with designing, implementing,


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  monitoring, evaluating, optimizing, and managing physical and virtualized computing

  environments.




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          5.8     OBJECTIVE EVIDENCE OF NONOBVIOUSNESS

          Fourth, you must also take into account any objective evidence (sometimes called

  "objective indicia" or "secondary considerations") that may shed light on whether the claims

  were obvious. "Objective indicia" or "secondary considerations" must be considered before a

  conclusion on obviousness is reached.

         "Objective indicia" or "secondary considerations" can include:

          (A) Whether the invention was commercially successful at least in part as a result of the

  merits of the claimed invention (rather than the result of design needs or market-pressure

  advertising or similar activities);

          (B) Whether the invention satisfied a long-felt need;

          (C) Whether others copied the invention;

          (D) Whether the invention achieved unexpected results compared to the closest prior art;

  evidence of unexpected results may be used to rebut a case of obviousness even if that evidence

  was obtained after the patent' s filing or issue date; there is no requirement that an invention' s

  properties and advantages were fully known before the patent application was filed, or that the

  patent application contains all of the work done in studying the invention;

          (E) Whether others tried and failed to make the invention;

          (F) Whether others in the field praised the invention;

          (G) Whether persons having ordinary skill in the art of the invention expressed surprise

  or disbelief regarding the invention;

          (H) Whether the inventor proceeded contrary to accepted wisdom in the field; and

          (I) Whether others invented the invention at roughly the same time.

          Cirba has the burden to show evidence of "objective indicia" or "secondary

  considerations" and to show that there is a connection, sometimes called a "nexus," between the


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  evidence showing any of these factors and the claimed invention, if this evidence is to be given

  weight by you in arriving at your conclusion on the obviousness issue. However, VMware

  always maintains the ultimate burden to show obviousness by clear and convincing evidence,

  taking into account any objective indicia that you may find.




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  6.0    PATENT DAMAGES

         6.1     DAMAGES INTRODUCTION

         All the instructions that I have given you up to this point have been about determining

  liability, meaning the determination as to whether VMware has infringed Cirba's patents. If you

  find that VMware infringed or induced infringement of any valid claim of the Cirba patents, you

  must then consider what amount of damages to award to Cirba for the infringement. If you find

  that each of the asserted claims is either invalid or not infringed, then you should not consider

  damages in your deliberations.

         I will instruct you now on how to determine the amount of damages, if any. By

  instructing you on damages, I am not suggesting which party should win this case, on any issue.

         The damages you award must be adequate to compensate Cirba for the infringement, and

  Cirba is in any event entitled to no less than a reasonable royalty.

         Damages are not meant to punish an infringer.

         Cirba has the burden to establish each element of its damages, including the amount of

  the damages, by a preponderance of the evidence. In other words, you should award only those

  damages that Cirba establishes that it more likely than not suffered. Cirba must prove the amount

  of damages with reasonable certainty, but need not prove the amount of damages with

  mathematical precision. You may not award damages that are speculative, damages that are only

  possible, or damages that are based on guesswork.

         Cirba seeks damages for patent infringement as measured by a reasonable royalty. A

  reasonable royalty is defined as the money amount the parties would have agreed upon as a fee

  for use of the invention at the time prior to when infringement began.

         I will now give you more detailed instructions regarding damages.




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         6.2     DATE DAMAGES BEGIN AND END

         In determining the amount of damages for patent infringement, you must determine when

  the damages period begins. The damages period for each patent begins on the earlier of ( 1) the

  date that Cirba satisfied the applicable marking or notice requirements described herein, or (2)

  the date that Cirba filed its lawsuit against VMware, subject to some limitations discussed below.

         In order for Cirba to collect pre-suit damages (i.e., damages before its April 25 , 2019

  lawsuit), Cirba must prove by a preponderance of the evidence that it satisfied applicable notice

  requirements with respect to its claims for patent infringement as of the dates from which

  damages are sought or awarded.

         Cirba can prove by a preponderance of the evidence that it gave notice in either of two

  ways. First, Cirba may prove that it gave notice to the public in general by complying with

  applicable marking requirements for substantially all products it made, offered for sale, or sold

  within the United States that practiced each patent. "Marking" is fixing either the word "patent"

  or the abbreviation "pat." with the patent' s number on substantially all of the products that

  include the patented invention. A patentee also may mark a patented product virtually by fixing

  the word "patent" or the abbreviation "pat.," with the address of a publicly available website that

  associates the patented product with the patent number. Marking, however, is required only to

  the extent that there is a tangible item to mark.

         You may find that Cirba complied with the "marking" requirement if it can prove by a

  preponderance of the evidence that it and its licensees complied with the applicable marking

  requirements for substantially all of their products in the United States that practiced the asserted

  patents in a manner appropriate for the applicable products.

         A second way Cirba can prove that it gave notice of the asserted patents is to prove that it

  directly notified VMware of its specific claim that the accused products infringed the asserted


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  patents. Cirba must prove by a preponderance of the evidence that it informed VMware of the

  identities of the asserted patents and of the alleged infringement by the accused products. If you

  find this type of "actual notice," then damages start from the date VMware received the actual

  notice.

            If you find that Cirba satisfied the applicable marking or notice requirements before it

  filed its lawsuit on April 25, 2019, then you will need to consider other factors for purposes of

  determining the beginning of the eligible damages period for any infringement of Cirba' s

  patents. Specifically:

            For Cirba' s ' 687 patent:

            A) If you find that VMware has directly infringed the ' 687 patent, the damages period

  begins on the later of the date applicable marking or notice requirements were satisfied and the

  date on which all requirements of direct infringement had been satisfied, but not earlier than

  March 2015. Damages for direct infringement are only available for VMware ' s own use of its

  accused products and not its customers' use. This damages period continues through the present.

            B) If you find that VMware has induced infringement of the ' 687 patent, the damages

  period begins on the later of the date on which all the requirements of induced infringement had

  been satisfied and the date applicable marking or notice requirements were satisfied, but not

  earlier than March 2015 . This damages period continues through the present.

            For Cirba' s ' 367 patent:

            A) If you find that VMware has directly infringed the '367 patent, the damages period

  begins on the later of May 16, 2017 and the date applicable marking or notice requirements were

  satisfied. Damages for direct infringement are only available for VMware' s own use of its

  accused products and not its customers' use. This damages period continues through the present.




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         B) If you find that VMware has induced infringement of the '367 patent, the damages

  period begins on the later of the date on which all the requirements of such infringement had

  been satisfied and the date applicable marking or notice requirements were satisfied, but not

  earlier than May 16, 2017. This damages period continues through the present.




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         6.3     METHODS FOR COMPUTING PATENT DAMAGES

         There are two methods for computing damages in a patent infringement case. One is

  called "lost profits" damages and the other is called "reasonable royalty" damages. In this case,

  Cirba is seeking damages for patent infringement as measured by a reasonable royalty.




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         6.4     REASONABLE ROYALTY-GENERALLY

         Cirba is seeking damages in the form of a reasonable royalty in this case. A reasonable

  royalty is the royalty that would have resulted from a hypothetical negotiation between the patent

  owner and the alleged infringer just before the infringement began. In considering this

  hypothetical negotiation, you should focus on what the expectations of the patent owner and the

  infringer would have been if they had entered into an agreement at that time, and if they had

  acted reasonably in the negotiations. You should assume that both parties to the hypothetical

  negotiation believed the patent to be valid and infringed and that both parties are willing to enter

  into a license. You should also assume that the patent owner and the infringer would have acted

  reasonably and would have entered into a license agreement.

         Having that in mind, you may consider any relevant fact in determining the reasonable

  royalty for the use of a patented invention, including the opinion testimony of experts. The

  reasonable royalty you determine must be a royalty that would have resulted from the

  hypothetical negotiation, and not simply a royalty either party would have preferred.

         A reasonable royalty is typically made up of (1 ) a base and (2) a rate (or percentage) that

  is applied to that base. The reasonable royalty award must be apportioned and based only on the

  incremental value that the patented invention adds to the end product, and Cirba must apportion

  value between the patented features and any non-patented features contained in the accused

  products. The reasonable royalty for method claims must also be limited to only those

  circumstances in which the steps of the claimed method were performed. The ultimate

  combination of royalty base and royalty rate must reflect the value attributable to the infringing

  features of the product and no more. Although direct evidence is not required to prove all

  specific instances of infringement, the damages award ought to be correlated, in some respect, to

  the extent the infringing method is used by consumers. Damages for indirect infringement are


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  not limited to a specific number of instances of actual infringing use proven with direct evidence.




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         6.5     FACTORS FOR DETERMINING REASONABLE ROYAL TY

         In determining a reasonable royalty, you should consider all the facts known and

  available to the parties at the time the infringement began. Some of the kinds of factors that you

  may consider in making your determination are:

   (1) The royalties received by the patent owner for the licensing of the patent in suit, proving or

      tending to prove an established royalty.

   (2) The rates paid by the licensee for the use of other patents comparable to the patent in suit.

   (3) The nature and the scope of the license, as exclusive or non-exclusive; or as restricted or

      non-restricted in terms of territory or with respect to whom the manufactured product may

      be sold.

   (4) The patent owner's established policy and marketing program to maintain its right to

      exclude others from using the patented invention by not licensing others to use the invention

      or by granting licenses under special conditions designed to preserve that exclusivity.

   (5) The commercial relationship between the licensee and the patent owner at the time of the

      hypothetical negotiation, such as whether they are competitors in the same territory in the

      same line of business; or whether they are inventor and promoter.

   (6) The effect of selling the patented product in promoting sales of other products of the

      licensee; the existing value of the invention to the patent owner as a generator of sales of its

      non-patented items; and the extent of such derivative or convoyed sales.

   (7) The remaining life of the patents-in-suit and the terms of the license.

   (8) The established profitability of the products made under the patents-in-suit; their

      commercial success; and their current popularity.

   (9) The utility and advantages of the patent property over the old modes or devices, if any, that

       had been used for achieving similar results.


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   (10)   The nature of the patented invention; the character of the commercial embodiment of it as

      owned and produced by the patent owner at the time of the hypothetical negotiation; and the

      benefits to those who have used the invention.

   (11)   The extent to which the licensee has made use of the invention; and any evidence

      probative of the value of that use.

   (12)   The portion of the profit or of the selling price that may be customary in the particular

      business or in comparable businesses to allow for the use of the invention or analogous

      inventions.

   (13)   The portion of the realizable profit that should be credited to the inventions as

      distinguished from non-patented elements, the manufacturing process, business risks, or

      significant features or improvements added by the infringer.

   (14)   The opinion and testimony of qualified experts.

   (15)   The amount that a licensor (such as the patent owner) and a licensee (such as the

      infringer) would have agreed upon (at the time the infringement began) if both had been

      reasonably and voluntarily trying to reach an agreement; that is, the amount which a prudent

      licensee-who desired, as a business proposition, to obtain a license to manufacture and sell

      a particular article embodying the patented invention-would have been willing to pay as a

      royalty and yet be able to make a reasonable profit and which amount would have been

      acceptable by a prudent patentee who was willing to grant a license.

   (16)   Any other economic factor that a normally prudent businessperson would, under similar

      circumstances, take into consideration in negotiating the hypothetical license. This may

      include the availability of commercially acceptable, noninfringing alternatives at the time of

      the hypothetical negotiation.




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         No one of these factors is dispositive, and you can and should consider the evidence that

  has been presented to you on any of these factors . You may also consider any other factors that

  in your mind would have increased or decreased the royalty the infringer would have been

  willing to pay and the patent owner would have been willing to accept.




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         6.6     REASONABLE ROYAL TY-TIMING

         The relevant date for the hypothetical reasonable royalty negotiation is at the time the

  infringement began. However, you may also consider in your determination of reasonable

  royalty any information the parties would have foreseen or estimated during the hypothetical

  negotiation, which may under certain circumstances include evidence of usage after infringement

  started, license agreements entered into by the parties shortly after the date of the hypothetical

  negotiation, profits earned by the infringer, and non-infringing alternatives.

         The damages period might not coincide with the date of the first infringement. There are

  two reasons for this. First, patent law limits damages to a six-year period before the filing of the

  complaint or counterclaim for infringement. Second, as I explained earlier in these instructions,

  if Cirba has not complied with applicable marking requirements or has not provided actual notice

  relating to its patents, then Cirba cannot recover pre-suit damages.

         Remember, you may only award damages for any infringement you have found occurred

  during the damages period for each patent.




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         6.7        PATENT DAMAGES INTEREST

         Neither party ' s calculations include interest. Therefore, in arriving at your damages

  calculation, you should not consider interest in any way because it is the function of the Court to

  award interest.




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            6.8    LIMITATIONS ON INDUCED INFRINGEMENT PATENT DAMAGES

            If you award damages for induced infringement, you must limit the damages to

  circumstances in which all the elements needed to find induced infringement have been satisfied.

  In order to recover damages for induced infringement, the plaintiff must prove acts of direct

  infringement by others that were induced by the accused infringer. In order to recover damages

  for induced infringement of a method claim, it is not enough that the accused infringer' s products

  are capable of infringing the asserted patents. The plaintiff must prove acts of direct

  infringement by others performing each step of the claimed method that were induced by the

  accused infringer. The amount of damages for induced infringement should be correlated, in

  some respect, to the extent of use of the claimed method. The plaintiff must prove that the

  accused infringer caused the acts of direct infringement of the asserted patents in the United

  States.




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  7.0    DELIBERATION AND VERDICT

         7.1     INTRODUCTION

         I have concluded the part of my instructions explaining the rules for considering some of

  the testimony and evidence. Now let me finish up by explaining some things about your

  deliberations in the jury room, and your possible verdicts.

         Once you start deliberating, do not talk to the jury officer, or to me, or to anyone else

  except each other about the case. If you have any questions or messages, you must write them

  down on a piece of paper, sign them, and then give them to the jury officer. The officer will give

  them to me, and I will respond as soon as I can. I may have to talk to the lawyers about what

  you have asked, so it may take some time to get back to you. Any questions or messages

  normally should be sent to me through your foreperson, who by custom ohhis Court is Juror No.

  1.

         One more thing about messages. Do not ever write down or tell anyone how you stand on

  your votes. For example, do not write down or tell anyone that you are split 4-4, or 6-2, or

  whatever your vote happens to be. That should stay secret until you are finished.




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          7.2       UNANIMOUS VERDICT

          Your verdict must represent the considered judgment of each juror. In order for you as a

  jury to return a verdict, it is necessary that each juror agree to the verdict. Your verdict must be

  unammous.

         It is your duty, as jurors, to consult with one another and to deliberate with a view

  towards reaching an agreement, if you can do so without violence to your individual judgment.

  Each of you must decide the case for yourself, but do so only after an impartial consideration of

  the evidence with your fellow jurors. In the course of your deliberations, do not hesitate to

  reexamine your own views and change your opinion, if convinced it is erroneous. But do not

  surrender your honest conviction as to the weight or effect of evidence solely because of the

  opinion of your fellow jurors, or for the purpose of returning a verdict. Remember at all times

  that you are not partisans. You are judges-judges of the facts. Your sole interest is to seek the

  truth from the evidence in the case.

          A form of verdict has been prepared for you. I will review it with you in a moment. You

  will take this form to the jury room and when you have reached unanimous agreement as to your

  verdict, you will have your foreperson fill in, date and sign the form. You will then return to the

  Courtroom and my deputy will read aloud your verdict. Place the completed verdict sheet in the

  envelope we will give you. Do not show the completed verdict form to anyone or share it with

  anyone until you are in the Courtroom.

          It is proper to add the caution that nothing said in these instructions, and nothing in the

  verdict form, is meant to suggest or convey in any way or manner any intimation as to what

  verdict I think you should find. What the verdict shall be is your sole and exclusive duty and

  responsibility.




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         7.3     DUTY TO DELIBERATE

         Now that all the evidence is in and the arguments are completed, you are free to talk

  about the case in the jury room. In fact, it is your duty to talk with each other about the evidence,

  and to make every reasonable effort you can to reach unanimous agreement. Talk with each

  other, listen carefully and respectfully to each other's views, and keep an open mind as you listen

  to what your fellow jurors have to say. Try your best to work out your differences. Do not

  hesitate to change your mind if you are convinced that other jurors are right and that your

  original position was wrong. But do not ever change your mind just because other jurors see

  things differently, or just to get the case over with. In the end, your vote must be exactly that-

  your own vote. It is important for you to reach unanimous agreement, but only if you can do so

  honestly and in good conscience.

         No one will be allowed to hear your discussions in the jury room, and no record will be

  made of what you say. So you should all feel free to speak your minds.

         Listen carefully to what the other jurors have to say, and then decide for yourself.




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         7.4     SOCIAL MEDIA

         During your deliberations, you must not communicate with or provide any information to

  anyone by any means about this case. You may not use any electronic device or media, such as

  the telephone, a cell phone, smartphone, iPhone, Blackberry, tablet or computer, the Internet, any

  Internet service, any text or instant messaging service, any Internet chat room, blog or website

  such as Facebook, Linkedln, YouTube, Instagram, Snapchat or Twitter to communicate to

  anyone any information about this case or to conduct any research about this case until I accept

  your verdict. In other words, you cannot talk to anyone on the phone, correspond with anyone, or

  electronically communicate with anyone about this case. You can only discuss the case in the

  jury room with your fellow jurors during deliberations.




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         7.5    COURT HAS NO OPINION

         Let me finish by repeating something I said to you earlier. Nothing that I have said or

  done during this trial was meant to influence your decision in any way. You must decide the case

  yourselves based on the evidence presented.




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